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LastName                                                                    .....J
             FirstName Exp Cat         Libby
                                       Residence
                                                     Date of . Cause per DC
                                                     Death
                                                                                                                         DC signed      Date of Dr Asbdis Grace            '"-'
                                                                                                                                                                      Grace End Residence
                                                                                                                          by Dr:          letter     !19.. ~                    at Death
                                                                                                                                                   factor?
Kujawa       Gynell      Community     26-31, 46-05 11111/2005 Anoxia (5 years)
                                                                                                                        Jana Peters    1/9/06       Yes
                                                                Stroke (5 years)                                                                                                  Libby, MT
                                                                                                                                       (Whitehouse)
Collier      JoAnn       Community     37-05        12128/2005 CVA (2 weeks)
                                                                                                                        Glenne         5/5/06       Yes
                                                               Diabetes (>1 o years)                                    Gunther
                                                                                                                                                                                  Libby, MT
                                                                                                                                       (Whitehouse)
                                                               Hypertension (>10 years)
                                                               Other significaritconditions: Asbestosis
Crill        William     Worker        65-91         21212006 Cf\rdiopulmonary Arrest (immediate)
                                                                                                                        Chris Loren                 No     8/211974   9/211991
                                                               Coronary Artery Disease (!.mknown)                                                                                 Willard. UT
Keller      . Deloris    Family Member 30-44                                                                            Stegelmeirer
                                                     2110/2006 Cpronic Renal Failure (unknown)
                                                                                                                        Edward Stein                Yes
                                                               Diabetic Nephropathy                                                                                               Eureka, MT
                                                               Cpngestive Heart Failure
                                                                A~bestosis
Brothers     Lester D.   Community     57-06         3/16/2006 L~IJ~ cancer
                                                                                                                     William                        Yes
                                                               other significant conditions: Asbestes Related Plural Cuskelly                                                     Libby. MT
                                                               disease capo .
                                                                  ..

McNair       Lavina      Family Membe 37-84,94-06 4/29/2006 Pneumonia (2 weeks)
                                                                                                                        Glenne         4/22108      Yes
                                                            Hip Fracture (3 weeks)                                                                                                Libby. MT
                                                                                                                        Gunther        (Whitehouse)
Ball         Irving      Community     (30-06        7/1112006 congestive heart failure
                                                                                                                        William                   . No
                                                               cardiomyopathy                                                                                                     Libby, MT
                                                                                                                        Cuskelly
Balum        James       Worker        59-77         7/18/2006 hypernephroma (1 year)
                                                                                                                        ThomasV.                    No     3/4/1974   3/18/1974   Kalispell, MT
                                                                                                                        Caughlan
Gilden       Scott       Community     63-92         7/25/2006 Metastatic Adena Carcinoma Unknown Primary (9            Thomas         4117/08      No
                                                               months)                                                                                                            East Helena,
                                                                                                                        Weiner         (Whitehouse)                               MT
Kins         Lillian     Family Membe r46-49,75-     7/27/2006 Severe capo                                               Glenne        5/29/07      Yes'                          Libby. MT
                                       77,86-06
                                                                                                                       • Gunther       (Whitehouse)
Eggers       Eddie       Worker        73-75         8/26/2006 Pancreatic cancer (8 month~)                             Patrick Beatty 2125/08      Yes    10/31/1974 9/27/1975   Superior, MT
                                                                  i                                                                    (Whitehouse)
                                                                 i
Hill         Dayton      Community     52-06         11/1/2006 IT\etastatic colon carcinoma (6 years)
                                                                  ;                                                     Glenne         12121106     Yes                           Libby. MT
                                                                                                                        Gunther        (Whitehouse)
                                                                    ,
Lundstrom    Carl        Community     69-06        11/2212006 cqmgestive heart failure (24months+)                     Legrande       11/1107      Yes                           Libby. Ml
                                                               cilrdiomyopathy (28 months+)                             Phelps         (Whitehouse)
                                                               coronary artery disease (5+ years)
                                                               Other significant conditions: obstructive/restrictive
                                                               airways disease



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                                                                                                                                                               Start                                    at Death
                                                                                                                                                       factor?
Vinson      Verle           Worker       46-06           1213/2006 pneumonia (5 days)
                                                                                                                          Gregory Rice                    Yes                211211.949
                                                                     asbestos'is (worked at Zonolite 1948-1950) (50 year1 )                                                               1/15/1950     Libby. MT

Baenen      K. Ruth         Family Membe 26-06           1218/2006 lung carcinoma
                                                                                                                           William        3/26/07      Yes
                                                                     other significant conditions: asbestosis· related                                                                                  Libby. MT
                                                                                                                           Cuskelly       (Whitehouse)
                                                                     disease
Skramstad   Lester          Worker       54-58,59-       1/21/2007 cardiopulmonarY arrest (unknown)
                                                                                                                           Brad Black·                    Yes                8/2611959
                                         61,66-07                  p~ritoneal mesothelioma (22 days)                                                                                      7/15/1961     Libby, MT
                                                                   asbestosis (10+ years)
DeShazer    Gerald          Commllnity   42-54,67,       1/29/2007 p':leumonia (13 days)
                                                                                                                           Gregory Rice                  Yes
                                         68-73,78-                 CpPD & asbestosis (8 years)                                                                                                          Libby, MT
                                         97,03-07                  cigaretteS & asbestos exposure (>20 years)
Powell      Donald          Community    43-07 minus     1/29/2007 atherosclerotic cardiovascular disease (years)
                                                                                                                          none                            No
                                         5yrs                                                                                                                                                           Libby. MT
Burton      Sharon          Family Membe 67-73
                                                                      ;
                                                                                                                          (coroner)
                                                          217/2007   Atherosclerotic Cardiovascular Disease (years)       none            215/08         Yes                                            Kalispell. MT
                                                                      :                                                   (coroner)       (Whitehouse)
Bailor      Claude          Community    6D-78, offlon    311/2007 Cardiac Arrhythmia (minutes)                            none
                                         78-93                                                                                            2126/08         No
                                                                   Heart Failure                                                                                                                        Kalispell, MT
                                                                                                                           (coroner)      (Whitehouse)
                                                                   Hypertensive Cardiomegaly
Smith       Patty           Community    89-07           3/13/2007 Ll!ng Cancer (6 mo.)
                                                                                                                           Charles        2120/08        Yes
                                                                   COPD (10 years)                                                                                                                     ' Libby, MT
                                                                                                                           Channan        (Whitehouse)
Benefield   Barbara         Community    5~1.63.         3/15/2007 metastatic ovarian cancer (5 years)
                                                                                                                           Glenne           5/29/07      No
                                         67,77-07                                                                                                                                                       Libby, MT
                                                                                                                           Gunther        . (Whitehouse)
Bennett     Lois            Family Membe 47-48.          3/15/2007 chronic obstructive pUlmonary disease (>10 years)
                                                                                                                     Frank E. Cole                       Yes
                                         summers 51                asbestosis (lifetime) .                                                                                                              Dayton, WA
                                         52

Andemen     David           Community    61-07            5/1/2007   Chronic Obstructive Pulmonary Disease
                                                                                                                                                         t:llll[f~li:~\11~
                                                                                                                           Thomas
                                                                                                                                                                                                        Spokane,
                                                                                                                           Prenger
Jones       Donald          Community·   65-07           ,5/5/2007 asbestosis (10+ yeam)                                                                                                                WA
                                                                                                                           Michael L.                    Yes                                            Libby, MT
                                                                                                                         " Mahoney
Hansen      David           Worker       51-56,58-       5/26/2007 re,spiratory arrest (houm)                      ,       Karen G.eheb                  Yes                 10/17/1951 6116/1956       Kooskia, ID
                                         59,86-87                  a~cites (24-48 hm)
                                                                     m'esothelioma - malignant, metastatic (months)
Kenelty     Marylin         Community    54-{)7          5/29/2007 m·etastatic colon cancer (2 yrs)                       William         1123/08      Yes                                              Libby, MT '
                                                                      i                                                   Cuskelly        (Whitehouse)
Wilburn     Harold          Worker       55,61,66-        71712007   respiratory failure (days)                           John N. KJim                    No                 8/'1/1966    7/1/1978      Spokane,
                                         87,88-'90,                  cOmmunity acquired pneumonia (days)                                                                                                WA
                                         04-{)7                       ,



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                                         Residence      .Death                                                         by Dr: .. .      letter·    sig.§t!rt                         at Death
                                                                                                                                                     factor?
Troyer      Ivan          Worker         53-07         8/26/2007 Cardiac Arrest                                      Danko                           No        9/28/1953   8/3111977   Spokane
                                                                 Prostate Cancer                                    Martincic                                                          Valley, WA
Urdahl      John          Family Member 42-54, 58-     9/17/2007 bowel perforation (unknown)                        William                          Yes                               Libby, MT
                                        93, 03-07                Other significant conditions: COPD with asbestosis Cuskelly


Owen-Segura Linda         Family Membe 89-91, 97-07 9/28/2007 heart failure (unknown)          .                     Connie Boyd 2125/08             No                                Troy, MT
                                                                      ovarian cancer (discovered Oct. 2003)                          (Whitehouse).

Stapley     Kenneth       Community      50-62,91-07 10/6/2007 congestive heart failure with ascites (2 yrs)         Greg Rie;e                      Yes                               Libby, MT
                                                                coronary artery disease (13 years)                         .
                                                                atherosclerosis (>15 yrs) .
                                                                Oiher significant conditions: asbestosis
Greenup .   Joyce         Community      44-05       10/15/2007 m~tastatic renal cell carcinoma.                     Leo                             No                                Spokane

                                                                                                                     Obermiller                                                        Valley, WA
Nicholls    Alvin         Worker         43-44,46-Q7 10/31/2007 mesothelioma (2 years)                               Cameron                         Yes       6/4/1958· 11/17/1978    Libby, MT
                                                                asbestosis                                           Gardner
HuttOh      Kenneth       Worker         39-66,69-    1118/2007 Atherosclerotic Cardiovascular Disease (years)       none            2125/08         Yes       1129/1960   5/24/1960   Libby, MT
                                         72, 80-07                                                                   (coroner)       (Whitehouse)

Noble       Roberta       Family Member ??-o8         11/1412008 IUj')g cancer (29 days)                             Connie Boyd                     Yes                               Troy, MT
                                                                 asbestosis
Hunt        Robert        Subcontractor 64, 70-71,·   11/20/2007 PUlmonary Fibrosis (years)                          Mark T.         2122108         Yes                               Kalispell, MT
                                         8Q-81                                                                      . Welch          (Whitehouse)

Post        Ernest        Community      54-55,57,    12116/2007 COPD (4 years)                                      GuYT.           1118/08·        Yes                               Anaconda,
                                         59                                                                          Monaco          (Whitehouse)                                      MT

PerrY       William       Subcontractor 90-03         1212212007 Hepatoma (1 months)                                   Thomas Warr              No                                     Belt, MT
                                                                 Chronic Active Hepatitis (5 years)
Noble       William       Worker         51-78,80-     11212008 Cardiac arrest (immediate)                             Greg Rice   1131108      Yes            8r28/1959   7/21/1976   Troy, MT
                                         81,82-08                Coronary artery disease (7 weeks)                                 (Whitehouse)
                                                                 atherosclerosis (>10 yrs)
                                                                 Other significantconditions: Asbestosis-from Zonoli b
                                                                 mine                         -
Harmon      Vesta         Community      36-070        1/11/2008 Aesbestosis (20 years)                             .. Aaron Derry              Yes                                    Missoula,
                                                                       ,                                                                                                               MT
Lyle        Shirley       Family Member 54-75, 79-     1/24/2008.     R~ptured Aortic-Aneurysm (unknown)             M~rtin          4/21/08      No                                   Miami,OK
                                        98,03-05                  -                                                  Grotheer        (Whitehouse)

Finstad     Kenneth       Worker         65-67         214/2008       Tl;loracic and Abdominal Trauma (Immediate)    none                            No        4/28/1~65   4/1/1967    Daniel, WY
                                                                      srunt Impact to Chest and Abdomen              (coroner)
                                                                      Motor Vehicle Accident



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Shea         Lois          Community       47-08                       ,
                                                        4/16/2008 lower. GI hemolThage (2 weeks)              Glenne                  Yes                                                   Libby, MT
                                                                                                              Gunther
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                                            Residence    Death                                                   by Dr:      letter     sig   ~                                      at Death
                                                                                                                                       factor?


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Burrese       Eunice       Community        39-05     5/1212008 Aspiration Pneumonia                          Leonard                                                                       Spokane,
                                                                Advanced Cerebrovascular Disease              Vanderbosch                                                                   WA
Spencer       Forrest      Community     23-43,46-    6/29/2008 CHF (5 years)                                 Cameron                 Yes                                                   Libby, MT
                                         74,78-08               HTN (30 years)                                Gardner
                                           . .
                                                                asbestosis complications .
Baker         Mildred      Family Member 52-08         7/9/2008 pneumonia (5 days)                            William                 Yes                                                   Libby, MT
                                                                capo with asbestosis related disease          Cuskelly
Fellenberg    Ruben        Worke'r       47-57; 58-Q8 10/1/2008 subdural hematoma, chronic                    Robert F.               No                        6/5/1958   . 7/111986       Libby, MT
                                                                tractor accident and congulopathy (3 weeks)   Hollis

                                                                       ,

                                                                       .,
                                                                        ;


The following are not on this list-NON .LIBBY:
Froman, Elmer (dth 11/8/03)
Holden, Dennis (dth 9/8/98)
Kinholt, Clifford (dth 12117/05)
                                                                   i            ,
Logan, Kenneth (dth 3/3/02)                                                 I




Sprunger, Elmer (dth 8/22/07)
Tellesch. Wayne(dth 1/12102)                                                !




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    Workers with Disease · 1969
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                 Years of Exposure .
, Per Exh. 130.4 Grace Headquarters In-house Stud
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